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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                             Chapter 7

Damianos Loizou and Karen S. Schmermund                            Case No. 818-78265-A736
a/k/a Karen S. Loizou,

                  Debtor.

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                                     Order Authorizing Retention of
                                    Weinberg, Gross & Pergament LLP
                                        as Attorneys for Trustee

                  Upon the application of Marc A. Pergament, Trustee of the above-referenced

Debtor, for an Order under Section 327 of the Bankruptcy Code, 11 U.S.C. Section 327, Bankruptcy

Rule 2014 and Eastern District of New York Local Bankruptcy Rule 2014-1, authorizing the

retention of Weinberg, Gross & Pergament LLP under a general retainer as the Trustee’s counsel to

represent him in this Chapter 7 case, and upon the affidavit of Marc A. Pergament, Esq., a member

of the law firm of Weinberg, Gross & Pergament LLP, and notice of said application having been

given to the United States Trustee,

                  A hearing having been conducted before the Honorable Robert E. Grossman, United

States Bankruptcy Judge, United States Bankruptcy Court, Alfonse M. D’Amato U.S. Courthouse,

290 Federal Plaza, Room 860, Central Islip, New York on March 20, 2019, and the Trustee

appeared by Weinberg, Gross & Pergament LLP, and no adverse interest having been represented,

and the Court being satisfied that the firm of Weinberg, Gross & Pergament LLP represents no

interest adverse to the Debtor or her Estate in the matters upon which said firm of attorneys is to be

engaged and is a disinterested person under Section 101 of the Bankruptcy Code, 11 U.S.C. Section

101, and that the employment of said firm of attorneys is necessary and would be in the best interest

of this Estate, it is
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                ORDERED, that the Trustee be, and he hereby is, authorized and empowered to

employ and retain the firm of Weinberg, Gross & Pergament LLP, as his counsel, to represent the

Trustee under a general retainer in the within proceeding under Chapter 7 of the Bankruptcy Code,

nunc pro tunc as of January 11, 2019 with all future fees and reimbursement of expenses payable

only upon further application pursuant to 11 U.S.C. Sections 330 and 331, the Federal Rules of

Bankruptcy Procedure, the E.D.N.Y. Local Bankruptcy Rules, and further Order of the Court

following a hearing on notice; and it is further

                ORDERED, that ten business days prior to any increases in Weinberg Gross &

Pergament LLP’s rates, Weinberg, Gross & Pergament LLP shall file a supplemental affidavit with

the Court setting forth the basis for the requested rate increase pursuant to 11 U.S.C. § 330(a)(3)(F).

Parties in interest, including the United States Trustee, retain all rights to object to or otherwise

respond to any rate increase on any and all grounds, including, but not limited to, the reasonableness

standard under 11 U.S.C. § 330. Supplemental affidavits are not required for rate increases effective

on or after the date the Trustee submits the Trustee´s Final Report to the United States Trustee.

                ORDERED, that no compensation or reimbursement of expenses shall be paid to

Weinberg, Gross & Pergament LLP for professional services rendered to the Trustee, except upon a

proper application and by further order of this Court following a hearing on notice pursuant to

§§330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.




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 Dated: Central Islip, New York                                       Robert E. Grossman
        March 22, 2019                                           United States Bankruptcy Judge

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